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                                     16                          1 (Pages 1-4)
                                      STEFANIE COPPEDGE - July 29, 2020
                                                                  1                                                                      3
  · · · · · · ··IN THE UNITED STATES DISTRICT COURT
·1·                                                                   ·1·
                                                                        · · · · · · · · ··P R O C E E D I N G S
 ···
  · · · · · · · · ·FOR THE DISTRICT OF COLORADO
·2·                                                                   ·2·
                                                                        · · ··VIDEOGRAPHER:··We are on the record.··The time now is
 ···
  ·
·3·                                                                   ·3·
                                                                        ·9:03 a.m. in the Mountain Time on July 29, 2020.··We are
 ···
  ·Civil Action No. 19-cv-03417-WJM-STV
·4·                                                                   ·4·
                                                                        ·conducting the virtual deposition of Stefanie Coppedge in the
 ···
  ·
·5·                                                                   ·5·
                                                                        ·matter of Rebecca Brigham v. Frontier Airlines, Inc., in the
 ···
  ·REBECCA BRIGHAM,· · · · ·)
·6·                                                                   ·6·
                                                                        ·United States District Court for the District of Colorado,
 ···· · · · · · · · · · · ··)
  · · · · · · ··Plaintiff,··)
·7·                                                                   ·7·
                                                                        ·Case Number 19-cv-03417.··The video technician is Walter
 ···· · · · · · · · · · · ··)
  ·vs.· · · · · · · · · · ··)
·8·                                                                   ·8·
                                                                        ·Mathern, the court reporter is Jeannie Gebes.
 ···· · · · · · · · · · · ··)
  ·FRONTIER AIRLINES, INC., )
·9·                                                                   ·9·
                                                                        · · ··Will counsel please state their appearances beginning
 ··a· Colorado corporation,··)
  · · · · · · · · · · · · ··)
10·                                                                   10·
                                                                        ·with the Plaintiff's counsel.
 ···· · · · · ··Defendant.··)
  ·_________________________)
11·                                                                   11·
                                                                        · · ··MR. CRONE:··John Crone for the Plaintiff.
 ···
  ·
12·                                                                   12·
                                                                        · · ··MR. GRIMES:··Evan Grimes for the Plaintiff.
 ···
  ·
13·                                                                   13·
                                                                        · · ··MS. BRIGHAM:··Rebecca Brigham, Plaintiff.
 ···· · · · · ·ZOOM DEPOSITION OF STEFANIE COPPEDGE
  ·
14·                                                                   14·
                                                                        · · ··MS. KITSON:··Danielle Kitson for the Defendant and with
 ···
  ·
15·                                                                   15·
                                                                        ·me is Jackie Peter, in-house counsel.
 ···
  · · ··The deposition of STEFANIE COPPEDGE was taken by the
16·                                                                   16·
                                                                        · · ··VIDEOGRAPHER:··Please swear in the witness.
 ···
  ·Plaintiff, pursuant to Notice, pursuant to Federal Rule of
17·                                                                   17·
                                                                        ·WHEREUPON,
 ···
  ·Civil Procedure 30, on Wednesday, July 29, 2020, commencing
18·                                                                   18·
                                                                        · · · · · · · · · · · ·STEFANIE COPPEDGE
 ···
  ·at 9:03 a.m.
19·                                                                   19·
                                                                        ·having been first duly sworn, was examined and testified on
 ···
  ·
20·                                                                   20·
                                                                        ·her oath as follows:
 ···
  ·
21·                                                                   21·
                                                                        · · · · · · · · · · ··DIRECT EXAMINATION
 ···
  ·
22·                                                                   22·
                                                                        ·BY MR. CRONE:
 ···
  ·
23·                                                                   23·
                                                                        ·Q.· ·Good morning, Ms. Coppedge.··Thanks for working through
 ···
  ·
24·                                                                   24·
                                                                        ·the technical difficulties and joining us this morning.
 ···
  ·
25·                                                                   25·A.   Of course.

                                                                  2                                                                      4
·1·
  · · · · · · · · · · · · ··APPEARANCES                               ·1·
                                                                        ·Q.· ·So I want to give you a quick roadmap of where I think
·2·
  ·
·3·
  ·On Behalf of the Plaintiff: JOHN R. CRONE, Esquire                 ·2·
                                                                        ·we're going this morning so you have a sense of how long this
 ···· · · · · · · · · · · · · ·EVAN S. GRIMES, Esquire                ·3·
                                                                        ·is going to take at least.··I think that based on what I have
·4·
  · · · · · · · · · · · · · · ·The Law Office of John R. Crone
 ···· · · · · · · · · · · · · ·4550 E. Cherry Creek Drive South       ·4·
                                                                        ·planned to ask you that we'll probably be done within a
·5·
  · · · · · · · · · · · · · · ·Suite 1003
 ···· · · · · · · · · · · · · ·Glendale, Colorado 80246               ·5·
                                                                        ·couple of hours, so not extraordinarily long this morning,
·6·
  · · · · · · · · · · · · · · ·john@crone-law.com                     ·6·
                                                                        ·hopefully we're all done by lunch.··That being said, if you
·7·
  ·
·8·
  ·On Behalf of the Defendant: DANIELLE KITSON, Esquire               ·7·
                                                                        ·need to take a break feel free to take a break, and I'll
 ···· · · · · · · · · · · · · ·Littler Mendelson, PC
·9·
  · · · · · · · · · · · · · · ·1900 16th Street                       ·8·
                                                                        ·probably want to take a couple of short breaks in the couple
 ···· · · · · · · · · · · · · ·Suite 800                              ·9·
                                                                        ·of hours, and if there's a question pending I'll just ask you
10·
  · · · · · · · · · · · · · · ·Denver, Colorado 82020
 ···· · · · · · · · · · · · · ·dkitson@littler.com                    10·
                                                                        ·to answer the question before you take a break.··Does that
11·
  ·
12·
  ·Also Present:· · · · · · · ·REBECCA BRIGHAM, Plaintiff             11·
                                                                        ·sound fair?
13·
  · · · · · · · · · · · · · · ·JACKIE PETER, Frontier Airlines        12·A.   Yes.
14·
  · · · · · · · · · · · · · · ·WALTER MATHERN, Videographer
15·
  ·                                                                   13·
                                                                        ·Q.· ·Okay.··And so I think I heard Ms. Kitson say that she
 ···· · · · · · · · · ··INDEX OF EXAMINATION
16·
  · · · · · · · · · · · · · · · · · · · · · · · · · · · ··Page        14·
                                                                        ·was there and somebody else was there.··How many people are
17·
  ·Direct Examination                                                 15·
                                                                        ·in the room with you?
 ····by Mr. Crone......................................· · ··3
18·
  ·Cross-Examination                                                  16·A.   Myself and two others.
 ····by Ms. Kitson.....................................· · ·59
19·
  ·                                                                   17·
                                                                        ·Q.· ·Okay.··And are you aware that when Ms. Brigham noticed
 ···· · · · · · · · · · ·INDEX OF EXHIBITS                            18·
                                                                        ·this deposition she noticed it so that we could all
20·
  ·
 ··Exhibit·
    ·        · · · · · · · · · · · · · · · · · · · ··Referenced       19·
                                                                        ·participate remotely?
21·
  ·
 ··Exhibit
    ·       1...........................................· · ·43       20·A.   Yes.
22·
  ·Exhibit 2...........................................· · ·41        21·
                                                                        ·Q.· ·And so to me -- I guess what I mean by that is you're
 ··Exhibit
    ·       4...........................................· · ·20
23·
  ·Exhibit 6...........................................· · ·44        22·
                                                                        ·aware that you don't have to be in a room with other people?
 ··Exhibit
    ·       12..........................................· · ·44
24·
  ·Exhibit 13..........................................· · ·35        23·A.   Yes, I'm aware.
 ··Exhibit
    ·       19..........................................· · ·47       24·
                                                                        ·Q.· ·Okay.··And so what I'm getting at is I just want to make
25·
  ·Exhibit 26..........................................· · ·32
 ··Exhibit
    ·       27..........................................· · ·48       25·
                                                                        ·sure that you're comfortable sitting in a room with other



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                                                                     5                                                                      7
·1·
  ·people for some amount of time.··Is that -- from a health             ·1·A.      For about a -- a little over a year.

·2·
  ·perspective, do you feel safe doing that?                             ·2·
                                                                           ·Q.· ·So that would be roughly somewhere in 2014 to 2015 or

·3·A.   Oh, absolutely.                                                  ·3·
                                                                           ·2013 to 2015, something like that?

·4·
  ·Q.· ·And just to be absolutely clear, if you don't Rebecca is         ·4·A.      20 -- the back end of 2014 into probably the -- I'm

·5·
  ·not requiring you to be in that room with other people and so         ·5·going to say July of 2015 -- or, 2016.

·6·
  ·if you don't feel safe let me know.                                   ·6·
                                                                           ·Q.· ·Okay.··And then before you were an in-flight supervisor

·7·A.   Okay.                                                            ·7·
                                                                           ·-- I'm sorry, what was that?

·8·
  ·Q.· ·Thank you.··And so do you have any, do you have any              ·8·A.      Go ahead.    Sorry.   I'm thinking about it.

·9·
  ·applications or programs open on your computer other than the         ·9·
                                                                           ·Q.· ·Oh, you're fine, you're fine.··And before you were an

10·
  ·Zoom application?                                                     10·
                                                                           ·in-flight supervisor, what position did you hold?

11·A.   I may have email open.     I can close it.                       11·A.      I was a flight attendant.

12·
  ·Q.· ·Thank you.                                                       12·
                                                                           ·Q.· ·Okay.··Is that where you started at Frontier?

13·A.   Okay.                                                            13·A.      I did.

14·
  ·Q.· ·Great.··Okay.··So Ms. Coppedge -- am I saying that               14·
                                                                           ·Q.· ·Okay.··And so what year was that that you first became a

15·
  ·right?··Is it Coppedge or Coppedge?                                   15·
                                                                           ·flight attendant for Frontier?

16·A.   It is Coppedge.                                                  16·A.      1995.

17·
  ·Q.· ·Coppedge, okay.··So Ms. Coppedge, I want to start with           17·
                                                                           ·Q.· ·Okay.··Did you work for any other airlines prior to

18·
  ·just some background, you know, your current position at              18·
                                                                           ·1995?

19·
  ·Frontier, what you do, how you know Ms. Brigham and that sort         19·A.      I did not.

20·
  ·of thing, so could you start by telling me what your current          20·
                                                                           ·Q.· ·Between 1995 and present, is Frontier the only airline

21·
  ·position is at Frontier?                                              21·
                                                                           ·you've worked for?

22·A.   Sure.      My current position is the manager of in-flight       22·A.      It is.

23·training and professional development so in that position I           23·
                                                                           ·Q.· ·Okay.··When you were the full-time instructor, what was

24·work closely with the F-A-A, adhering to 8900s and C-F-Rs,            24·
                                                                           ·that position about?··What were your, what were your primary

25·ensuring that flight attendants are trained properly.                 25·
                                                                           ·duties in that job?

                                                                     6                                                                      8
·1·
  ·Q.· ·And how long have you had this position?                         ·1·A.      Instructing current flight attendants on their annual

·2·A.      Since 2016, so roughly four years, three and a half           ·2·training and then instructing new-hire flight attendants on

·3·years almost, almost four.                                            ·3·the regulations of becoming a flight attendant, company

·4·
  ·Q.· ·Okay.··And do you, do you supervise any individuals in           ·4·policy and procedure.

·5·
  ·this position?                                                        ·5·
                                                                           ·Q.· ·Okay.··And when you were the in-flight supervisor, what

·6·A.      I do.                                                         ·6·
                                                                           ·were your job duties there?

·7·
  ·Q.· ·How many?                                                        ·7·A.      Supporting the flight attendants, running daily

·8·A.      I have 11 direct reports.                                     ·8·attendance reports, adhering to F-A-Rs, ensuring flight
·9·
  ·Q.· ·Okay.··And those direct reports, what title do they              ·9·attendants were in compliance with their FAMS, working with
10·
  ·hold?                                                                 10·the D-O-T on compliance measures for flight attendants,
11·A.      They -- I have two in-flight training schedule                11·working with multiple departments in Frontier, streamlining
12·coordinators, I have an in-flight training supervisor and I           12·processes for flight attendants.
13·have, I guess, eight full-time instructors.                           13·
                                                                           ·Q.· ·Okay.··And you had mentioned F-A-Rs.··What does that
14·
  ·Q.· ·Okay.··And before you were the manager of in-flight              14·
                                                                           ·stand for?
15·
  ·training and professional development, what was your                  15·A.      Federal aviation regulations.
16·
  ·position?                                                             16·
                                                                           ·Q.· ·Okay.··And then I think you said AFEN too maybe.··What
17·A.      I was a full-time instructor.                                 17·
                                                                           ·was that?
18·
  ·Q.· ·Okay.··And how long did you hold that position?                  18·A.      Flight attendant manual.
19·A.      For about a year I believe.                                   19·
                                                                           ·Q.· ·Got it.··Okay.··FAM.··Is the flight attendant manual
20·
  ·Q.· ·So roughly mid 2015 to mid 2016, somewhere in there?             20·
                                                                           ·something different than an employee handbook, so in other
21·A.      Correct.                                                      21·
                                                                           ·words, do the flight attendants have some written set of
22·
  ·Q.· ·Okay.··And then before that position, what position did          22·
                                                                           ·policies that are different from the employee handbook?
23·
  ·you hold?                                                             23·A.      They're two different manuals.
24·A.      I was an in-flight supervisor.                                24·
                                                                           ·Q.· ·So the one that you were referring to is called the FAM,
25·
  ·Q.· ·Okay.··And how long did you hold that position?                  25·
                                                                           ·the flight attendant manual?



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·1·A.   Correct.                                                          ·1·
                                                                            ·Q.· ·Okay.··So you know Rebecca Brigham, correct?

·2·
  ·Q.· ·And so in your current position, you supervise in-flight          ·2·A.   I do.

·3·
  ·supervisors and the full-time instructors.··Those are both             ·3·
                                                                            ·Q.· ·Okay.··And I think I know that at one point you were her

·4·
  ·positions you've held, right?                                          ·4·
                                                                            ·in-flight supervisor; is that correct?

·5·A.   I'm sorry, will you repeat that?                                  ·5·A.   Correct.

·6·
  ·Q.· ·Yeah.··No problem.··So in your current position, you              ·6·
                                                                            ·Q.· ·Do you remember when that was, the time period?

·7·
  ·supervise in-flight supervisors and full-time instructors and          ·7·A.   That would be in -- I believe it to be August 2014 is

·8·
  ·you've held both of those positions?                                   ·8·when I became an in-flight supervisor, so sometime between

·9·A.   I -- well, for the in-flight training department.    It's         ·9·August 2014 and, I believe, April or March of 2016.

10·two different buckets, there's the in-flight operations                10·
                                                                            ·Q.· ·Okay.··And outside of that time when you were Ms.

11·side --                                                                11·
                                                                            ·Brigham's in-flight supervisor, did you ever work with her in

12·
  ·Q.· ·Uh-huh.                                                           12·
                                                                            ·any other way?

13·A.   -- where I worked previously as supervisor and then               13·A.   I believe I may have flown with Rebecca, but I don't

14·there's the in-flight training department, and I supervised            14·recall how many times.

15·the supervisor in the in-flight training department as well            15·
                                                                            ·Q.· ·Okay.

16·as the full-time staff.                                                16·A.   As a flight attendant.

17·
  ·Q.· ·Got it.··Okay.··And then you also supervise currently             17·
                                                                            ·Q.· ·Okay.··So sometime prior to August 2014 you might have

18·
  ·the in-flight schedule coordinator?                                    18·
                                                                            ·flown together both as flight attendants?

19·A.   For in-flight training.                                           19·A.   Yes.

20·
  ·Q.· ·Okay.··Got it, got it.··Okay.··So that schedule                   20·
                                                                            ·Q.· ·Okay.··Did, did you know Ms. Brigham well before

21·
  ·coordinator, are they coordinating trainings or something              21·
                                                                            ·becoming her in-flight supervisor, or did you get to know her

22·
  ·else?                                                                  22·
                                                                            ·better as her supervisor?

23·A.   Trainings and new-hire flight attendant classes.                  23·A.   I got to know her better as her supervisor.

24·
  ·Q.· ·Okay, okay.··Ms. Coppedge, do you hold any, any sort of           24·
                                                                            ·Q.· ·Did you have a good working relationship with Ms.

25·
  ·specific training credentials or degrees or schooling or               25·
                                                                            ·Brigham?

                                                                     10                                                                     12
·1·
  ·anything that are related to your current position?                    ·1·A.   I did.

·2·A.      I hold training certificates in respect to training            ·2·
                                                                            ·Q.· ·Any sort of performance or work issues that -- you know,

·3·flight attendants.    I hold an IOSA certificate, I hold a CAMI        ·3·
                                                                            ·negative things that you can think of related to Ms. Brigham?

·4·certificate, which is a training in Oklahoma for flight                ·4·A.   We had to work through the dependability process.

·5·attendants, Oklahoma City, for the F-A-A.     So I have                ·5·
                                                                            ·Q.· ·Okay.··Anything else outside of the dependability

·6·certificates specific to training flight attendants, I do not          ·6·
                                                                            ·process?

·7·have a college degree, I spent only a few years in college.            ·7·A.   No, sir.

·8·
  ·Q.· ·Okay.··What were you studying?                                    ·8·
                                                                            ·Q.· ·Okay.··What is the dependability process that you're

·9·A.      Finance.                                                       ·9·
                                                                            ·referring to?

10·
  ·Q.· ·All right.··You took a different turn.··The IOSA, what's          10·A.   That would be when flight attendants obtain so many

11·
  ·that certificate?                                                      11·attendance points --

12·A.      So that's for -- forgive me, my mind -- that's for code        12·
                                                                            ·Q.· ·Uh-huh.

13·sharing, airlines that code share, so airlines that share              13·A.   -- where you would then have to work with the flight

14·with other, other airlines with the auditing process.     So           14·attendant, have a meeting and conversations with the flight

15·it's a certificate I hold to adequately audit Frontier's               15·attendants regarding their attendance, how can we best

16·in-flight department in line with the needed audit for the             16·support them, how can we help them.

17·IOSA --                                                                17·
                                                                            ·Q.· ·And what was the issue with Ms. Brigham specifically?

18·
  ·Q.· ·Okay.                                                             18·A.   For Ms. Brigham she, she was hitting my attendance log

19·A.      -- in order for Frontier to have a code-share program.         19·for gaining too many attendance points which would then

20·
  ·Q.· ·And what's a code share?                                          20·warrant a documented verbal warning or a written -- some sort

21·A.      That means Frontier or any airline has the ability to, I       21·of step of discipline, so I worked directly with Rebecca and

22·guess, book passengers on each other's aircraft.                       22·sometimes the Union on figuring out the best way to manage

23·
  ·Q.· ·Okay.··Any other trainings you can think of related to            23·her attendance.

24·
  ·any of your positions at Frontier?                                     24·
                                                                            ·Q.· ·Do you recall who you worked with at the Union?

25·A.      I cannot at this time.                                         25·A.   I believe it was Angie Reef and Adrienne Prince.



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·1·
  ·Q.· ·And so can you explain, then, what was going on with her       ·1·discussed looking for other options, working on the ground,

·2·
  ·attendance and what, what the solution was that you were            ·2·other -- applying for other departments within Frontier, I do

·3·
  ·trying to reach?                                                    ·3·remember discussing that.

·4·A.   With Rebecca's attendance, oftentimes if she had called        ·4·
                                                                         ·Q.· ·Okay.··Did that go anywhere, working with other

·5·out on a trip it would be marked as a SIC code, S-I-C, in the       ·5·
                                                                         ·departments within Frontier?

·6·system.    At the time Rebecca was able to get intermittent         ·6·A.   I don't believe so, no.

·7·F-M-L-A so it would take -- there's a process where she would       ·7·
                                                                         ·Q.· ·Do you know any other flight attendants that were, that

·8·have to email the L-O-A department, leave of absence                ·8·
                                                                         ·were assigned to a different department within Frontier for a

·9·department, once that email was cleared the L-O-A department        ·9·
                                                                         ·temporary amount of time for any reason?

10·would recode the SIC as an I-F-M, intermittent F-M-L-A day in       10·A.   So contractually with the C-B-A if a flight attendant is

11·the attendance tracker and Rebecca was awarded so many I-F-M        11·on the, on-the-job injury, if, if there is something

12·days per month and if she moved beyond the allowed I-F-M days       12·available within the company they can be assigned light duty

13·Rebecca and I would have to come together and have a                13·and work in said department on light duty during their O-J-I

14·conversation regarding those days and if she had gone beyond        14·period.

15·the awarded amount.                                                 15·
                                                                         ·Q.· ·Any other reasons other than the O-J-I?

16·
  ·Q.· ·Okay.··Do you remember how many per month she was              16·A.   Not that I'm aware of.

17·
  ·awarded?                                                            17·
                                                                         ·Q.· ·Okay.··And what about the -- you had mentioned the

18·A.   I do not.                                                      18·
                                                                         ·dropping trips and picking up trips.··How does a flight

19·
  ·Q.· ·Do you remember why she was awarded those I-F-M days?          19·
                                                                         ·attendant create their schedule?

20·A.   I was not privy to that information.                           20·A.   So the bidding process is awarded by seniority and

21·
  ·Q.· ·Are you, are you aware of any, any facts related to Ms.        21·bidding opens on the 5th of the previous month --

22·
  ·Brigham's disability of alcoholism?                                 22·
                                                                         ·Q.· ·Okay.

23·
  · · ··MS. KITSON:··Object to the form.                               23·A.   -- closes on the 12th, and flight attendants are able to

24·A.   I am aware based off of conversations I had with               24·go in and pick the trip that they would like or that are

25·Rebecca.                                                            25·ideal for their own lifestyle.   Bids are then posted on the

                                                                  14                                                                     16
·1·
  ·Q.· ·Uh-huh.··Do you recall when the first conversation was         ·1·16th of every month, the month prior to what you're bidding.

·2·
  ·that you and Rebecca discussed her alcoholism?                      ·2·
                                                                         ·Q.· ·Uh-huh.

·3·A.   I do not.                                                      ·3·A.   On the, on the 18th there is a -- what is called a trade

·4·
  ·Q.· ·Do you remember what you talked about?                         ·4·board, on the 18th flight attendants can trade trips amongst

·5·A.   I know I had conversations with Rebecca, I don't know at       ·5·each other, and then on the 19th the open-time pot is open

·6·what point we -- that she had told me about her alcoholism.         ·6·for bidding and the open-time pot is trips that were not

·7·
  ·Q.· ·Uh-huh.                                                        ·7·covered in the original bidding process.

·8·A.   So I don't know an exact point of when, when she did           ·8·
                                                                         ·Q.· ·Okay.

·9·tell me, but I know at some point throughout that period of         ·9·A.   So you're able to take the trip you have that you don't

10·time she did tell me.                                               10·like and trade it out with what's in the open-time pot or

11·
  ·Q.· ·And by the period of time you mean the time that you           11·with another flight attendant.

12·
  ·were an in-flight supervisor?                                       12·
                                                                         ·Q.· ·Okay.··And that, that last step, the open time isn't

13·A.   Yes, sir.                                                      13·
                                                                         ·seniority based, it's just whoever gets it?

14·
  ·Q.· ·Okay.··And do you remember what she told you about her         14·A.   It is first come, first served.

15·
  ·alcoholism?                                                         15·
                                                                         ·Q.· ·Okay.··So I just want to make sure I understand.··So

16·A.   She had told me that she had self-disclosed that she had       16·
                                                                         ·when the bidding occurs between the 5th and the 12th, that is

17·alcoholism and she had gone in for treatment and she was            17·
                                                                         ·-- the flight attendants say, "Here are the trips I want, I

18·working through with her, her, her schedule and the L-O-A           18·
                                                                         ·mean here are the trips that are ideal," and then based on

19·department.                                                         19·
                                                                         ·seniority those are assigned?

20·
  ·Q.· ·Did she ever ask you for help with her schedule?               20·A.   Correct.

21·A.   I believe we discussed ways, such as dropping trips and        21·
                                                                         ·Q.· ·Okay.··And then after that on the 18th the trade board

22·picking up trips, that did work to fulfill her needs.               22·
                                                                         ·is not seniority based, that's just you can trade with

23·
  ·Q.· ·Yeah.··Do you recall discussing any other potential ways       23·
                                                                         ·whoever is willing to trade with you?

24·
  ·to modify her schedule?                                             24·A.   Correct.

25·A.   To modify her schedule, I don't recall.     I know we          25·
                                                                         ·Q.· ·And then on the 19th the open time is just first come,



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·1·
  ·first served?                                                       ·1·A.   It was.

·2·A.   Correct.                                                       ·2·
                                                                         ·Q.· ·Okay.··Were you a member of a union at any time after

·3·
  ·Q.· ·Okay.··You had mentioned working with Angie and Adrienne       ·3·
                                                                         ·you were a flight attendant?

·4·
  ·Prince.··What was Angie's last name?··I'm sorry, I didn't           ·4·A.   No, sir.

·5·
  ·catch that.                                                         ·5·
                                                                         ·Q.· ·Okay.··So Ms. Coppedge, I've got some documents that I

·6·A.   Reef, R-e-e-f.                                                 ·6·
                                                                         ·want to place in front of you, you know, via remotely.

·7·
  ·Q.· ·Thanks.··And you had mentioned those are Union people.         ·7·
                                                                         ·There's a chat box where I can drop them in and you can open

·8·
  ·Do you remember what their, what their positions were with          ·8·
                                                                         ·them up and then we can discuss them a little bit.··I'm

·9·
  ·the Union back then?                                                ·9·
                                                                         ·realizing as I'm sitting here that I didn't organize them

10·A.   Angie Reef was the president and Adrienne Prince was the       10·
                                                                         ·perfectly so if we take -- if you're not opposed to a

11·vice president.                                                     11·
                                                                         ·five-minute break I can sort of shuffle these around a little

12·
  ·Q.· ·Okay.··And what, what were you trying to accomplish with       12·
                                                                         ·bit and make it easier for us to discuss this.··Do you mind

13·
  ·Angie and Adrienne?                                                 13·
                                                                         ·if we take a quick break?

14·A.   Well, it's -- they were involved in the fact-finding           14·A.   Certainly.

15·meetings.   If they could bring anything to light that I would      15·
                                                                         · · ··MR. CRONE:··Why don't we just make it 10 minutes and

16·have been unaware of in regards to Rebecca's attendance then        16·
                                                                         ·then just make it easier for everybody, so we can go off the

17·we can look at if there was an opportunity to help with her         17·
                                                                         ·record.

18·attendance.                                                         18·
                                                                         · · ··VIDEOGRAPHER:··The time now is 9:32, we're off the

19·
  ·Q.· ·Okay.··And the fact-finding meeting, do you remember           19·
                                                                         ·record.

20·
  ·when that occurred?                                                 20·
                                                                         · · · · · · · ··(There was a recess taken.)

21·A.   I do not.    There's, there's several steps to fact-           21·
                                                                         · · ··VIDEOGRAPHER:··The time now is 9:42, we're back on the

22·finding meetings from a flight attendant that's on a                22·
                                                                         ·record.

23·documented verbal warning is awarded a fact finding, the            23·
                                                                         ·(Direct Examination by Mr. Crone)

24·written warning is a fact finding, the termination warning is       24·
                                                                         ·Q.· ·Ms. Coppedge, do you, do you remember -- did you ever

25·a fact finding and then the termination itself is a fact            25·
                                                                         ·advise Ms. Brigham that she should make a reasonable

                                                                  18                                                                     20
·1·finding.                                                            ·1·
                                                                         ·accommodation request under the A-D-A?

·2·
  ·Q.· ·Okay.··And do you remember when Angie and Adrienne             ·2·A.   I don't, I don't recall that.   I don't remember, it's

·3·
  ·became involved in the process with respect to Ms. Brigham?         ·3·been five years ago.

·4·
  ·So was it -- were they there from the very first fact-finding       ·4·
                                                                         ·Q.· ·That's fine, that's fine.··So you have no recollection

·5·
  ·meeting, did they just come in at the end?··Any sort of sense       ·5·
                                                                         ·of whether you ever mentioned the A-D-A to Ms. Brigham?

·6·
  ·of that?                                                            ·6·A.   I don't.

·7·A.   I don't, I don't recall at what point.                         ·7·
                                                                         ·Q.· ·Do you know Cassandra Micklich?

·8·
  ·Q.· ·And when you communicated with Angie and Adrienne, was         ·8·A.   I do.

·9·
  ·it ever by email, was it just in these meetings, did you send       ·9·
                                                                         ·Q.· ·How do you know her?

10·
  ·letters, or how did that work?                                      10·A.   Cassandra worked in the L-O-A department.

11·A.   So it's an official email that will go out to the flight       11·
                                                                         ·Q.· ·Does she still work for the Frontier?

12·attendant and the Union at the same time.                           12·A.   She does not.

13·
  ·Q.· ·So you didn't, you didn't communicate with them outside        13·
                                                                         ·Q.· ·Do you know where she went after Frontier?

14·
  ·of that email or at the meeting itself?                             14·A.   I do not.

15·A.   I did not.                                                     15·
                                                                         ·Q.· ·Do you know when she left?

16·
  ·Q.· ·Okay.··Were Angie and Adrienne also -- I assume they           16·A.   I, I can't give you a definitive date.   I, I don't.

17·
  ·were also Frontier employees.··Is that, is that a good              17·
                                                                         ·Q.· ·Was it in this year?··Was it in 2020?

18·
  ·assumption?                                                         18·A.   No, it was 2016 or '15, somewhere in there.

19·A.   That is correct.                                               19·
                                                                         ·Q.· ·So she's been gone a few years at least then?

20·
  ·Q.· ·Do you remember what positions they held at that time?         20·A.   Yes.

21·A.   Flight attendant.                                              21·
                                                                         ·Q.· ·Okay.··Okay.··When Ms. Micklich worked at Frontier, were

22·
  ·Q.· ·Okay.··Have you ever been a member of a Union with             22·
                                                                         ·you and her friends outside of work?

23·
  ·Frontier, or is that for non-management people?                     23·A.   No.

24·A.   I have.                                                        24·
                                                                         ·Q.· ·Okay.··So I'm going to hand you via the internet an

25·
  ·Q.· ·Was that when you were a flight attendant?                     25·
                                                                         ·exhibit that has -- is marked Exhibit 4.··So some of these



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·1·
  ·exhibits will seem out of order because they've been numbered       ·1·A.   Yes.

·2·
  ·in other depositions already and I'm trying to preserve that        ·2·
                                                                         ·Q.· ·My question for you is do you agree that if Ms. Brigham

·3·
  ·numbering to some extent so if you can kind of ignore that          ·3·
                                                                         ·was granted the accommodation that Ms. Prince is describing

·4·
  ·I'll get this in front of you here.                                 ·4·
                                                                         ·here that that would not violate any seniority provision in

·5·
  · · ··MR. CRONE:··And then, Danielle, do you need me to email        ·5·
                                                                         ·the Collective Bargaining Agreement?

·6·
  ·these to you as well?                                               ·6·
                                                                         · · ··MS. KITSON:··Object to the form, mischaracterizes the

·7·
  · · ··MS. KITSON:··Let me see.··I've also got the chat box           ·7·
                                                                         ·document.

·8·
  ·open and am going to try to download.··My connection is not         ·8·A.   It still violates the contract.    You can't violate the

·9·
  ·as strong so I'm clicking download now, but I may need, may         ·9·contract for one employee when you have 2600 flight

10·
  ·need you to email.                                                  10·attendants.

11·
  · · ··MR. CRONE:··Let me know how it works and then we can           11·
                                                                         ·Q.· ·How would it violate the contract?

12·
  ·figure out what to do.                                              12·
                                                                         · · ··MS. KITSON:··Object to the form.··What do you mean "it"?

13·
  · · ··MS. KITSON:··Go ahead and email it to me while we're           13·
                                                                         ·There's no specific accommodation set here.

14·
  ·doing this because I'm just not sure -- I've got the spinning       14·
                                                                         ·Q.· ·Ms. Coppedge, do you understand the question I'm asking

15·
  ·wheel of death going on here.                                       15·
                                                                         ·you, or do you need me to clarify?

16·
  · · ··MR. CRONE:··Okay.··Sure.··Give me one second.··This is         16·A.   Please repeat it.

17·
  ·how we did it last time if I remember right, I put them in a        17·
                                                                         · · ··MR. CRONE:··I'm asking Ms. Coppedge.

18·
  ·chat and email.                                                     18·
                                                                         ·Q.· ·Do you understand the question, or do you need me to

19·
  · · ··MS. KITSON:··Yes.··Hopefully it's working.··I may              19·
                                                                         ·clarify?

20·
  ·actually have to be the one to show Ms. Coppedge too because        20·A.   I need you to clarify, please.

21·
  ·her connection also is not as strong as Arellano's was.             21·
                                                                         ·Q.· ·Okay.··So here do you understand that Ms. Prince is

22·
  · · ··THE WITNESS:··I have it open.                                  22·
                                                                         ·describing a proposed accommodation that Ms. Brigham was

23·
  · · ··MS. KITSON:··You have it open?                                 23·
                                                                         ·seeking?

24·
  · · ··THE WITNESS:··Yeah.                                            24·
                                                                         · · ··MS. KITSON:··Object to the form, lack of foundation,

25·
  ·Q.· ·Oh, good.··Okay.··So now that you have that open, Ms.          25·
                                                                         ·mischaracterizes the document.··You can answer.

                                                                  22                                                                      24
·1·
  ·Coppedge, could you just review it for me?                          ·1·A.   I, I understand what Ms. Prince is proposing, however,

·2·A.      (Witness complies.)                                         ·2·it's still a violation of contract.

·3·
  · · ··MS. KITSON:··John, did you email that to me?                   ·3·
                                                                         ·Q.· ·Okay.··And again that's my question, how is it a

·4·
  · · ··MR. CRONE:··I did -- well, let me make sure I did.             ·4·
                                                                         ·violation of the contract?

·5·
  ·Yeah.                                                               ·5·A.   It's a violation because you're awarding one flight

·6·
  · · ··MS. KITSON:··Okay.··That means my computer is going            ·6·attendant an opportunity that you're not awarding 2600 other

·7·
  ·extra special slow, but I can see it clearly enough on Ms.          ·7·flight attendants, and it's a violation because there's a

·8·
  ·Coppedge's screen right now.                                        ·8·restriction on hours that flight attendants are able to bid

·9·
  · · ··MR. CRONE:··Okay.··Yeah, if that works for you maybe we        ·9·and drop to.

10·
  ·can just try to make that work.··None of these are long             10·
                                                                         ·Q.· ·Okay.··So let's start with one.··You said it would be a

11·
  ·exhibits so it might be --                                          11·
                                                                         ·violation because of the opportunity that would be afforded

12·
  · · ··MS. KITSON:··Okay.                                             12·
                                                                         ·Ms. Brigham that's not afforded to others.··What is that

13·
  ·Q.· ·Have you reviewed that, Ms. Coppedge?                          13·
                                                                         ·opportunity?

14·A.      I have.                                                     14·A.   Well, the opportunity is not, not every flight attendant

15·
  ·Q.· ·Have you ever seen this document before today?                 15·is able to avoid layovers, that would be specific to Ms.

16·A.      No.                                                         16·Brigham.    There's 2600 flight attendants some of which I

17·
  ·Q.· ·But you do know Adrienne Price, obviously, because we've       17·suspect don't want layovers.

18·
  ·talked about her, right?                                            18·
                                                                         ·Q.· ·Okay.··And then anything else that you meant by not

19·A.      Correct.                                                    19·
                                                                         ·affording the opportunity to anybody else?

20·
  ·Q.· ·So the question I have for you is, is related to               20·A.   I, I believe in my mind it's an unfair advantage, it's

21·
  ·paragraph 6 on the second page, do you see where Ms. Price          21·not an equal advantage if it's not available to 2600 flight

22·
  ·wrote, "however, I explained to Frontier that the Union was         22·attendants.

23·
  ·not seeking an accommodation that would violate the seniority       23·
                                                                         ·Q.· ·And that's avoiding layovers, or what are you referring

24·
  ·provision, but rather would work within the seniority               24·
                                                                         ·to?··What's the unfair advantage?

25·
  ·provision."··Do you see where I'm at there?                         25·A.   Allowing one person to modify their ability to bid



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·1·versus the other 2600.                                                 ·1·that she had suffered from alcoholism and that is why she had

·2·
  ·Q.· ·Got it.··Okay.··But I thought anybody could bid on open           ·2·the I-F-M.

·3·
  ·time?                                                                  ·3·
                                                                            ·Q.· ·Okay.··And when you said she self-disclosed to the

·4·A.      Anyone can bid on open time.                                   ·4·
                                                                            ·company, are you aware of how that process works?··Do you

·5·
  ·Q.· ·And I thought anybody could trade time?                           ·5·
                                                                            ·know anything about that?

·6·A.      They can trade time.                                           ·6·A.   I have no idea, do not work in H-R.

·7·
  ·Q.· ·So what exactly was Ms. Brigham asking for that anybody           ·7·
                                                                            ·Q.· ·Okay.··Do you know who's -- do you know who would know

·8·
  ·else couldn't do?                                                      ·8·
                                                                            ·about that?

·9·A.      Well, I know in conversations I had with Ms. Brigham,          ·9·A.   I would, I would assume -- I can assume which is not a

10·which is not what is stated here by Adrienne, is Ms. Brigham           10·good thing, right?   My guess would be somebody in compliance,

11·was wanting to dump her entire schedule and rebid it or not            11·in the compliance department, within H-R compliance

12·bid a schedule and simply bid out of open time which both are          12·department.

13·violation of contract.      That's not in Ms. Adrienne Prince's        13·
                                                                            ·Q.· ·What about Jerry Arellano?

14·document here, but I do know that was conversations proposed           14·A.   Jerry Arellano, I believe his position is something,

15·by Adrienne herself and Rebecca.                                       15·something in H-R.    I believe he -- I don't -- I honestly

16·
  ·Q.· ·So what, what part of that would violate the contract,            16·don't know exactly Jerry's title in H-R, I just know he works

17·
  ·what you just described?                                               17·in H-R.

18·A.      Bidding is -- every flight attendant must bid and              18·
                                                                            ·Q.· ·Is he your boss?

19·bidding is awarded in seniority order.                                 19·A.   No.

20·
  ·Q.· ·And then after that occurs then there's the trade and             20·
                                                                            ·Q.· ·Who's your immediate supervisor currently?

21·
  ·the open time, right?                                                  21·A.   Currently, Stephen Howell.

22·A.      Correct.                                                       22·
                                                                            ·Q.· ·And at the time that you were an in-flight supervisor

23·
  ·Q.· ·So if Ms. Brigham bid for the, for the flights she                23·
                                                                            ·and you supervised Ms. Brigham, who was your immediate

24·
  ·wanted first and then worked through trade time and open time          24·
                                                                            ·supervisor?

25·
  ·to, to, to create a schedule that would avoid layovers, that           25·A.   Kari Thompson, she was a manager.

                                                                     26                                                                     28
·1·
  ·wouldn't violate the contract, would it?                               ·1·
                                                                            ·Q.· ·In completing your day-to-day duties from 2016 to now,

·2·A.      That would not.                                                ·2·
                                                                            ·do you ever have occasion to interact with Jerry Arellano?

·3·
  ·Q.· ·Okay.··Ms. Coppedge, we can set that document aside or            ·3·A.   I don't recall the exact number of times, I'm sure I

·4·
  ·close it or whatever is easy for you to sort of have it out            ·4·have interacted with Jerry Arellano -- from 2016 to 2020, is

·5·
  ·of your way.                                                           ·5·that the timeframe you gave?

·6·A.      Okay.                                                          ·6·
                                                                            ·Q.· ·From 2014 to 2020.

·7·
  ·Q.· ·I want to talk a little bit if you can help me                    ·7·A.   I, I'm sure I have interacted with Jerry on matters, I

·8·
  ·understand this, this process of self-disclosure that you had          ·8·don't recall a number of times.

·9·
  ·mentioned earlier.··How's that work?                                   ·9·
                                                                            ·Q.· ·Do you remember why you interacted with him?

10·A.      I don't know that I had mentioned a process of self-           10·A.   I can think of an incident of a new-hire flight

11·disclosure.     I think I mentioned Rebecca had at some point          11·attendant where I had interacted with Mr. Arellano.

12·disclosed to me that she was suffering from alcoholism, other          12·
                                                                            ·Q.· ·What about, what about relating to Ms. Brigham?

13·than that that is an H-R process and I'm unaware of any                13·A.   Relating to Ms. Brigham, Jerry was the original H-R

14·self-disclosures on any platform level.                                14·contact that was handling the case and at one point it

15·
  ·Q.· ·Okay, yeah.··And so maybe I, maybe I heard your answer            15·switched over to Andrea Warfield.

16·
  ·more broadly, so I want to try to make sure I understand.··So          16·
                                                                            ·Q.· ·Did it ever, then, switch back to Mr. Arellano, or did

17·
  ·you had mentioned that Ms. Brigham disclosed to you that she           17·
                                                                            ·Ms. Warfield handle that issue from there on out?

18·
  ·had alcoholism, but you're not aware of sort of any formal             18·A.   I believe Mr. Arellano was involved as Mrs. Warfield was

19·
  ·program Frontier has where people can self-disclose that type          19·new to the role.

20·
  ·of problem?                                                            20·
                                                                            ·Q.· ·So did you interact directly with Mr. Arellano relating

21·A.      Well, Rebecca had already self-disclosed to the company        21·
                                                                            ·to Ms. Brigham at all?

22·prior to her conversation with me.      So as it would be with         22·A.   I did.

23·any flight attendant, I have no idea why a flight attendant            23·
                                                                            ·Q.· ·Okay.··In what ways?

24·is on an intermittent F-M-L-A and rightfully so for                    24·A.   Via, via email seeking guidance on what steps were to be

25·protection purposes.      Rebecca in conversations had told me         25·taken with Mrs. Brigham's situation.


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·1·
  ·Q.· ·And what did Mr. Arellano reply?                               ·1·
                                                                         ·Q.· ·What about at any time while at Frontier, have you ever

·2·A.   I believe that they were looking for -- the H-R                ·2·
                                                                         ·supervised any employee that was granted a reasonable

·3·department was looking for all the proper documentation             ·3·
                                                                         ·accommodation?

·4·regarding attendance, I-F-M usage and other policies to             ·4·A.     I can say sure is what I think, but I don't know that

·5·ensure that going to the step of termination was the correct        ·5·it's answering your question.    I recently had an employee

·6·thing to do.                                                        ·6·that broke her kneecap --

·7·
  ·Q.· ·Did Ms. Brigham ever ask to be temporarily reassigned to       ·7·
                                                                         ·Q.· ·Uh-huh.

·8·
  ·a light-duty position?                                              ·8·A.     -- and therefore she needed an accommodation where she

·9·A.   I don't, I don't recall.    It's so long ago I honestly        ·9·couldn't stand and train flight attendants for 12 hours so I

10·don't recall.                                                       10·had to allow her to sit and elevate her leg so many hours a

11·
  ·Q.· ·If, if she had do you think that would have violated the       11·day based off of the O-J-I department, H-R and her doctor's

12·
  ·Collective Bargaining Agreement in any way?                         12·recommendations.     Is that what you would be speaking to?

13·
  · · ··MS. KITSON:··Object to the form.                               13·
                                                                         ·Q.· ·Yeah, that's exactly what I'm asking.··So I'm trying to

14·A.   I do believe it would have violated the C-B-A.    The          14·
                                                                         ·figure out if that occurs, who tells you what to do?··And I

15·C-B-A as well as the employee handbook only refers to O-J-I         15·
                                                                         ·think you may have just answered that.··Was that H-R telling

16·employees in regards to light duty and reassignment.                16·
                                                                         ·you this is the accommodation, this is what you have to give

17·
  ·Q.· ·Have you -- when you were the in-flight supervisor             17·
                                                                         ·her?

18·
  ·starting in 2014 or any of the positions you've held up till        18·A.     Correct, the leave of absence department, correct.

19·
  ·now, are you ever involved when an employee requests a              19·
                                                                         ·Q.· ·Okay.··Got it.··And then -- but then is it up to you to

20·
  ·reasonable accommodation?                                           20·
                                                                         ·make sure the accommodation is actually granted, that is in

21·A.   That's hard to say.    When you say am I involved, at what     21·
                                                                         ·the instance you just cited that this person is actually

22·point are you referring to would I be involved?                     22·
                                                                         ·given the time to elevate her leg?

23·
  ·Q.· ·So at any point.··So maybe, you know, the employee             23·A.     Well, it's up to me as the manager to make sure it's

24·
  ·discloses a disability to you or maybe they ask for an              24·implemented, that we adhere to the L-O-A department and the

25·
  ·accommodation and then I assume it goes through some process,       25·doctor recommendation.

                                                                  30                                                                      32
·1·
  ·Frontier decides do we grant this, do we not, do we propose         ·1·
                                                                         ·Q.· ·Got it, yeah.··Okay.··All right.··Do you have any, any

·2·
  ·something else.··At any point along that chain are you ever         ·2·
                                                                         ·sort of involvement with the accommodation process besides

·3·
  ·involved?                                                           ·3·
                                                                         ·making sure accommodations are implemented?

·4·A.   That would be a complete H-R function and then I would         ·4·A.     Absolutely not.

·5·do as directed based off of H-R's recommendation.                   ·5·
                                                                         ·Q.· ·Do you, do you know a former Frontier employee named

·6·
  ·Q.· ·Okay.··And so in Ms. Brigham's case, was H-R ever              ·6·
                                                                         ·David St. Hilaire?

·7·
  ·directing you to do anything with regard to her reasonable          ·7·A.     I know the name, I don't know who he is.

·8·
  ·accommodation request?                                              ·8·
                                                                         ·Q.· ·And do you think you just know the name because you're

·9·A.   No.                                                            ·9·
                                                                         ·generally familiar with the names of flight attendants around

10·
  ·Q.· ·Did you ever communicate to H-R a specific request --          10·
                                                                         ·Frontier, or do you think you ever interacted with him?

11·
  ·reasonable accommodation request made by Ms. Brigham?               11·A.     I think I know the name because the last name is kind of

12·A.   I don't recall.                                                12·catchy, quite frankly.

13·
  ·Q.· ·Do you recall ever communicating to Ms. Brigham that her       13·
                                                                         ·Q.· ·Is it kind of a unique last name, isn't it?

14·
  ·reasonable accommodations requests were denied or granted?          14·A.     You know, I know a lot of faces of flight attendants,

15·A.   I don't recall.   That would have been an H-R function to      15·there's 2600 and I may know their names, but I don't know who

16·deny or grant, I would simply be the vessel.                        16·they are.

17·
  ·Q.· ·Okay.··Outside of the world of Ms. Brigham, if somebody        17·
                                                                         ·Q.· ·That's, that's fine.··That's fair.··I'm going to put a

18·
  ·is granted a reasonable accommodation, how do you ensure or         18·
                                                                         ·document in front of you and see if it helps refresh your

19·
  ·is it -- I'll start with is it up to you to ensure that the         19·
                                                                         ·memory at all about David St. Hilaire.··It is titled -- let

20·
  ·accommodation is actually given?                                    20·
                                                                         ·me make sure this is right.··It's titled Exhibit 26, and so

21·A.   It would not be up to me to ensure it's given.                 21·
                                                                         ·I'll drop it in the chat box and I will email Danielle a copy

22·
  ·Q.· ·So when you were an in-flight supervisor, let's kind of        22·
                                                                         ·too just in case that works.··And the same as last time, when

23·
  ·narrow it in there, did you ever supervise any flight               23·
                                                                         ·you receive it if you could give it a review.

24·
  ·attendants that were granted reasonable accommodations?             24·A.     Sure.

25·A.   I did not.                                                     25·
                                                                         ·Q.· ·Thank you.··Ms. Coppedge, where are you at now?··Are you



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·1·
  ·at Frontier's lawyer's offices?                                     ·1·A.   It does not.

·2·A.   I'm at Frontier's headquarters, our headquarter                ·2·
                                                                         ·Q.· ·Well, much ado about nothing then.··What about

·3·building.                                                           ·3·
                                                                         ·Christopher Benedict, do you know who that is?

·4·
  ·Q.· ·Got it.··And that's in -- is that downtown, or is that         ·4·A.   I do.

·5·
  ·at the airport?                                                     ·5·
                                                                         ·Q.· ·Who is Chris Benedict?

·6·A.   Out, out near the airport.                                     ·6·A.   Chris Benedict was the -- I believe he was a manager,

·7·
  ·Q.· ·Okay.                                                          ·7·possibly a supervisor, I don't know his exact title, but I

·8·A.   Okay.     I was able to open the document.                     ·8·know he was in charge of drug and alcohol compliance.

·9·
  ·Q.· ·Great.··If you could give it a review that'd be helpful.       ·9·
                                                                         ·Q.· ·Is he still with Frontier, do you know?

10·
  · · ··MS. KITSON:··John, has this been produced?                     10·A.   He is not.

11·
  · · ··MR. CRONE:··Yes, it was produced right after this -- Mr.       11·
                                                                         ·Q.· ·Do you know where he went?

12·
  ·Arellano's individual deposition, I think the same day -- no,       12·A.   I do not.

13·
  ·I think it was the day after that, so July 15th.                    13·
                                                                         ·Q.· ·Do you remember when he left?

14·
  · · ··MS. KITSON:··I don't know that we received that.··I'm          14·A.   Three or four years ago.

15·
  ·going to need to -- Ms. Coppedge, let me review it first and        15·
                                                                         ·Q.· ·Okay.··All right.··So I've got another document to put

16·
  ·then --                                                             16·
                                                                         ·in front of you.··Hopefully, hopefully this will go a bit

17·
  · · ··THE WITNESS:··Okay.                                            17·
                                                                         ·smoother, a little smoother now, we'll find out I guess.

18·
  · · ··MS. KITSON:··John, I'm done reviewing it and I'm now           18·
                                                                         ·This one is titled Exhibit 13, I just dropped that into the

19·
  ·handing it back it Ms. Coppedge to review and I'm also going        19·
                                                                         ·chat box.··I'll email it to Danielle.··So Ms. Coppedge, same

20·
  ·to email it to Ms. Peter to review, so just hang with us for        20·
                                                                         ·drill, once you receive it and have it open if you could give

21·
  ·a minute.                                                           21·
                                                                         ·it a quick review for me.

22·
  · · ··MR. CRONE:··That's fine.                                       22·A.   Okay.

23·
  · · ··MS. KITSON:··John, while she's reviewing that, can you         23·
                                                                         ·Q.· ·Thanks.

24·
  ·just confirm how it is that you produced the document and,          24·A.   Okay.

25·
  ·you know, on what date, via what means.                             25·
                                                                         ·Q.· ·Have you ever seen documents like this before?

                                                                  34                                                                     36
·1·
  · · ··MR. CRONE:··So just like all the other discovery               ·1·A.   No.

·2·
  ·production it was by email with a pdf that I believe -- I can       ·2·
                                                                         ·Q.· ·Do you have any idea what this is?

·3·
  ·just pull it up while we're waiting here.··It was --                ·3·A.   No.

·4·
  · · ··MS. KITSON:··That would be great.                              ·4·
                                                                         ·Q.· ·Do you know if Rebecca Kruger is Rebecca Brigham prior

·5·
  · · ··MR. GRIMES:··It was July 15th.                                 ·5·
                                                                         ·to becoming married?

·6·
  · · ··MR. CRONE:··So July 15th by email and it was to you.           ·6·A.   No.

·7·
  ·It's called Plaintiff's Second Supplemental Rule 26(a)(i)           ·7·
                                                                         ·Q.· ·Okay.··When you were a -- or, in any position that

·8·
  ·Initial Disclosures and so it's a supplement and then the           ·8·
                                                                         ·you've held at Frontier, have you ever supervised

·9·
  ·documents Bates number was sent to you, Carolyn, cc to Evan         ·9·
                                                                         ·probationary flight attendants?

10·
  ·Grimes as well.··I can resend it to you right now.··So I know       10·A.   No.

11·
  ·your internet is a little slow out there, Danielle, but I           11·
                                                                         ·Q.· ·No?··Okay.··You were a probationary flight attendant at

12·
  ·just resent you the original production.                            12·
                                                                         ·one time?

13·
  · · ··MS. KITSON:··Great.··Were there any other documents or         13·A.   Yes.

14·
  ·just that one?                                                      14·
                                                                         ·Q.· ·Were you evaluated at the conclusion of your

15·
  · · ··MR. CRONE:··It was just that one, yeah, plus, plus like        15·
                                                                         ·probationary time?

16·
  ·an actual supplement to the 26(a)(i) disclosure.                    16·A.   I, I don't recall, that's 25 years ago.

17·
  · · ··MS. KITSON:··Got it.                                           17·
                                                                         ·Q.· ·So I'm not asking if you recall whether a piece of paper

18·
  · · ··MR. CRONE:··But I think that was just noting that this         18·
                                                                         ·like this was filled out, but whether you were just evaluated

19·
  ·document was being produced.                                        19·
                                                                         ·at all?

20·
  · · ··MS. KITSON:··Okay.                                             20·A.   I don't, I don't recall.

21·
  · · ··MR. CRONE:··Thanks.                                            21·
                                                                         ·Q.· ·Is there some reason why a probationary flight attendant

22·
  ·Q.· ·Ms. Coppedge, have you reviewed Exhibit 26?                    22·
                                                                         ·wouldn't be made -- I mean what's the name for it, I guess

23·A.   I have.                                                        23·
                                                                         ·just a regular flight attendant, a non-probationary flight

24·
  ·Q.· ·Does that help refresh your memory as to whether or not        24·
                                                                         ·attendant?··What's the difference, I'm asking, between a

25·
  ·you recall David St. Hilaire's time at Frontier?                    25·
                                                                         ·probationary flight attendant and a non-probationary flight



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·1·
  ·attendant?                                                                ·1·
                                                                               ·Q.· ·And what did you say that means, 48 points or something?

·2·A.      I'm sorry, will you repeat that question?                         ·2·
                                                                               ·What does that mean?

·3·
  ·Q.· ·Yeah.··What makes somebody probationary as a flight                  ·3·A.      Well, an employee that utilizes sick call -- you have

·4·
  ·attendant?                                                                ·4·eight occurrences to get you to termination level, each

·5·A.      Well, based on their hire date and what's in the                  ·5·occurrence can be for six days.        Now I don't know that this

·6·employee handbook.    So a new-hire flight attendant would be             ·6·employee used each occurrence for six days, but generally

·7·on probation for nine months in today's world, I don't have               ·7·speaking an employee can use six sick days eight times

·8·any idea what it was -- on this document in 2008 I have no                ·8·meaning they have the ability to be out from work for 48 days

·9·idea what the probationary period was.     In today's world a             ·9·before they get to a term situation in a rolling calendar

10·new-hire flight attendant is on probation for nine months.                10·year.

11·
  ·Q.· ·How does that -- in today's world, how does that flight              11·
                                                                               ·Q.· ·Is that for an employee covered under the Collective

12·
  ·attendant get off of the probationary status?··Do they just               12·
                                                                               ·Bargaining Agreement or is that a probationary employee too?

13·
  ·survive nine months without getting fired, or do they have to             13·A.      The Collective Bargaining Agreement.

14·
  ·do something?                                                             14·
                                                                               ·Q.· ·So here where it says on the second page under Comments,

15·A.      Correct, they have to be on the expected, the expected            15·
                                                                               ·"Rebecca is currently on a final term warning for two missed

16·behavior and procedures of the flight attendants throughout               16·
                                                                               ·trips," it just says she missed two trips, right, not eight

17·that period and once they successfully complete that nine                 17·
                                                                               ·occurrences?

18·months they are no longer on probation.        They're, they're not       18·A.      Correct.

19·covered by the C-B-A while on probation.                                  19·
                                                                               ·Q.· ·So all you really know from looking at this is that she

20·
  ·Q.· ·And so you've reviewed this Exhibit 13.··Is there                    20·
                                                                               ·missed two trips, right?

21·
  ·anything in this Exhibit 13 that you think would prevent                  21·A.      Sure.

22·
  ·Rebecca Brigham, the employee being evaluated here, from                  22·
                                                                               ·Q.· ·And what if she was sick for two days?

23·
  ·getting off of probationary status?                                       23·
                                                                               · · ··MS. KITSON:··Object to the form.

24·A.      Well, you're asking me what I think.     I don't know what        24·A.      There's certainly a difference between missing a trip,

25·the process was at that time.                                             25·which is no-show which affects the operation, and there's a

                                                                        38                                                                          40
·1·
  ·Q.· ·Yeah, I'm asking for your opinion today.··Would this                 ·1·difference between a sick call.        A missed trip means a flight

·2·
  ·employee present an issue to you in terms of getting off of               ·2·attendant did not show up to work leaving the operation and

·3·
  ·probationary status?                                                      ·3·passengers stranded, a sick call is when a flight attendant

·4·A.      This would present an issue.   The employee was on final          ·4·calls in and says, "I will be sick," so it's -- there's a

·5·termination warning for missing two trips, that would be a                ·5·difference between the term missed trip and sick call.

·6·concern.                                                                  ·6·
                                                                               ·Q.· ·Are you able to tell that by looking at this document?

·7·
  ·Q.· ·Would it prevent the employee from getting off of                    ·7·
                                                                               ·You know that those are no call/no shows versus sick days?

·8·
  ·probationary status or what would happen today?                           ·8·A.      I do because I know the terminology, so two missed trips

·9·A.      I don't handle dependability today so I cannot speak to           ·9·tell me it's defined as a missed trip.

10·that.                                                                     10·
                                                                               ·Q.· ·Okay.··And what if those two missed trips were sick days

11·
  ·Q.· ·So then what is -- what's the basis for the concern                  11·
                                                                               ·or days taken to -- because a child was sick or something

12·
  ·about the absences?                                                       12·
                                                                               ·like that, would that change your opinion here?

13·A.      I guess my concern as a general person is how, how is             13·A.      Well, I don't think it -- the whole scenario would have

14·somebody able to hit eight points in attendance in six                    14·changed.        If it was two sick calls, somebody wouldn't be on

15·months.    This is a six-month period on this form, so how did            15·termination warning for two sick calls.

16·somebody hit eight points in six months.       Eight points would         16·
                                                                               ·Q.· ·Even during a probationary period?

17·give you 48 sick days, somebody was sick 48 days in six                   17·A.      Even during probation.

18·months?    That may not be an ideal employee, that is                     18·
                                                                               ·Q.· ·Even during 2008 when you weren't in H-R and you don't

19·concerning, but again, I am not involved in the dependability             19·
                                                                               ·really know?

20·process.                                                                  20·
                                                                               · · ··MS. KITSON:··Object to the form.

21·
  ·Q.· ·But that's what you think this document says?                        21·A.      Well, I was a flight attendant in 2008 for several years

22·A.      Correct, it says final termination warning for                    22·so I knew the process, I knew the sick-call process, so I can

23·attendance for two missed trips.                                          23·speak not on behalf of H-R but on myself as a flight

24·
  ·Q.· ·For two missed trips.··So --                                         24·attendant knowing policy and procedure back then.

25·A.      Correct.                                                          25·
                                                                               ·Q.· ·So you recall the probationary procedure back in 2008



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·1·
  ·but not in 1995?                                                      ·1·
                                                                           ·Q.· ·And that's something less than discipline?

·2·
  · · ··MS. KITSON:··Object to the form.                                 ·2·A.   Correct.

·3·A.   You asked me if I -- your original question was not --           ·3·
                                                                           ·Q.· ·Okay.

·4·your question originally to me is if I recalled being on              ·4·A.   Just like a heads-up.

·5·probation myself and getting off of probation 25 years ago, I         ·5·
                                                                           · · ··MR. CRONE:··Okay.··Let's, let's go off the record and

·6·don't remember that.                                                  ·6·
                                                                           ·take that break.··Do you want to do 10 minutes, Danielle?

·7·
  ·Q.· ·And that's clear, I recall you testifying to that and I          ·7·
                                                                           · · ··MS. KITSON:··Sure, that sounds good.

·8·
  ·recall that.··What I'm asking is, did you know what the               ·8·
                                                                           · · ··MR. CRONE:··Okay.

·9·
  ·probationary procedure was in 2008?                                   ·9·
                                                                           · · ··VIDEOGRAPHER:··The time now is 10:36, we're off the

10·A.   I, I may -- I would have been aware, but it didn't               10·
                                                                           ·record.

11·affect me so I didn't digest and think about it.                      11·
                                                                           · · · · · · · ··(There was a recess taken.)

12·
  ·Q.· ·Okay.··I'm going to hand you what has been marked                12·
                                                                           · · ··VIDEOGRAPHER:··The time now is 10:51, we're back on the

13·
  ·Exhibit 2.··We'll do the same, the same process -- Ms.                13·
                                                                           ·record.

14·
  ·Coppedge, I've noticed you've looked off to your right and            14·
                                                                           ·(Direct Examination by Mr. Crone)

15·
  ·laughed a couple of times.··Are you communicating with                15·
                                                                           ·Q.· ·Ms. Coppedge, I just sent over what's labeled Exhibit 1

16·
  ·somebody?                                                             16·
                                                                           ·and so the same drill, when you get it if you could open it,

17·A.   No, no.   I'm laughing because every time you send me a          17·
                                                                           ·take a look and let me know.··I'll email it to Danielle too.

18·document it takes forever to download.                                18·A.   Okay.   I've read through it.

19·
  ·Q.· ·Got it, got it.                                                  19·
                                                                           ·Q.· ·Thanks.··Have you ever seen a document like this before?

20·A.   I don't mean that to be disrespectful, it's more of a            20·A.   I have.

21·humorous thing like --                                                21·
                                                                           ·Q.· ·Is this the kind of thing that an in-flight supervisor

22·
  ·Q.· ·No, you're fine, don't worry.··It's hard to tell what's          22·
                                                                           ·would issue to a flight attendant?

23·
  ·going on when I'm not in the room.··But it's on its way to            23·A.   Correct.

24·
  ·you, I'll email it to Danielle.··Sorry about the delay.               24·
                                                                           ·Q.· ·Okay.··And so have you, have you issued documents like

25·A.   That was fine, thank you.     Is it Exhibit 2, is that --        25·
                                                                           ·this before?

                                                                    42                                                                     44
·1·
  ·Q.· ·Exhibit 2, it should be one page.                                ·1·A.   I have.

·2·A.   Okay.   That one was quick.                                      ·2·
                                                                           ·Q.· ·Do you know if you issued this one?

·3·
  ·Q.· ·Okay.··Good.··Have you had a chance to look at it                ·3·A.   I don't, I don't recall.

·4·
  ·briefly?                                                              ·4·
                                                                           ·Q.· ·I see that there's no supervisor signature at the

·5·A.   No, sir, I just opened it.                                       ·5·
                                                                           ·bottom.··Is that abnormal?

·6·
  ·Q.· ·Oh, okay.··That's fine.                                          ·6·A.   There would have been a supervisor signature at the time

·7·
  · · ··MS. KITSON:··John, can we take a break after this                ·7·that the flight attendant, in this case Rebecca, signed it,

·8·
  ·document?                                                             ·8·they would have signed it at the time.

·9·
  · · ··MR. CRONE:··Yeah, that's fine.                                   ·9·
                                                                           ·Q.· ·And so she would have signed at the bottom there at

10·A.   Okay, I've read through it.                                      10·
                                                                           ·Employee Signature?

11·
  ·Q.· ·Have you ever seen this document before?                         11·A.   Correct.

12·A.   I have not.                                                      12·
                                                                           ·Q.· ·So is there any way for you to know if this was actually

13·
  ·Q.· ·Have you ever seen a document like this?                         13·
                                                                           ·issued or if this was a draft?

14·A.   I have not.                                                      14·A.   I would have to refer to the P-track, the employee

15·
  ·Q.· ·In your mind, was Jerry Arellano disciplining Ms.                15·record, which would indicate if this form was issued and if

16·
  ·Brigham in this document or no?                                       16·this form was then signed.

17·
  · · ··MS. KITSON:··Object to the form.                                 17·
                                                                           ·Q.· ·Okay.

18·A.   Certainly not, he's informing her.                               18·A.   Two separate entries.

19·
  ·Q.· ·Is there any sort of term for what this is?··Is it               19·
                                                                           ·Q.· ·Got it.··So there's a way to find out, but you can't

20·
  ·called counseling or something, or is it just -- is it                20·
                                                                           ·tell by looking at this document?

21·
  ·covered --                                                            21·A.   Correct.

22·A.   I, I can't speak to what it is, I was not involved in,           22·
                                                                           ·Q.· ·Got it.··I sent over what's called Exhibit 12, I'm going

23·in creating or implementing the document.     I can speak to how      23·
                                                                           ·to send it to Danielle too by email.··Same drill, if when you

24·I read the document which is an advisement regarding your             24·
                                                                           ·get it, it should just be one page, if you could open it and

25·sick instances.                                                       25·
                                                                           ·take a look.



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·1·A.   Okay.                                                               ·1·exception for her.

·2·
  ·Q.· ·Have you ever seen this document?                                   ·2·
                                                                              ·Q.· ·Do you know why that was an exception?

·3·A.   I have not.                                                         ·3·A.      I believe in an effort to work with Rebecca and save her

·4·
  ·Q.· ·Do you know what it is?··Have you ever seen a document              ·4·employment.     I can only assume, I don't know.

·5·
  ·like this?                                                               ·5·
                                                                              ·Q.· ·Can any, can any employee of Frontier apply for F-M-L-A

·6·A.   I have not.                                                         ·6·
                                                                              ·time?

·7·
  ·Q.· ·Do you know who wrote it?                                           ·7·A.      That's an H-R function.

·8·A.   I do not.                                                           ·8·
                                                                              ·Q.· ·You're not aware of whether -- could you apply for

·9·
  ·Q.· ·Okay.··I'm going to send over Exhibit 6, and I'll email             ·9·
                                                                              ·F-M-L-A time?

10·
  ·it to Danielle as well.                                                  10·A.      I believe it's, I believe it's a government program and

11·A.   Okay.                                                               11·every employee that is eligible can apply for F-M-L-A.

12·
  ·Q.· ·Have you seen this document before?                                 12·
                                                                              ·Q.· ·Okay.··I'm sorry, I didn't mean to cut you off.··I was

13·A.   I don't know that I've seen the document recently until             13·
                                                                              ·trying to get a jump on sending you the next one, it's going

14·today.   Obviously I am one of the authors so I have seen the            14·
                                                                              ·to be called Exhibit 19, and when you receive Exhibit 19 if

15·document, I just don't believe I've seen it in several years.            15·
                                                                              ·you can, if you can review that.

16·
  ·Q.· ·So it's been a little while.··At the bottom where it                16·A.      All right.   I have opened it and will read through it

17·
  ·says from Stefanie Coppedge to Gerardo Arellano dated October            17·now.

18·
  ·13, 2015, did you write that where it says, "Sir, where are              18·
                                                                              ·Q.· ·Thank you.

19·
  ·we with this one?"                                                       19·A.      Okay.

20·A.   Oh, no, what did I do?     Wait.     Sorry, I just lost your        20·
                                                                              ·Q.· ·Do you recall this email string?

21·document.                                                                21·A.      I don't.

22·
  ·Q.· ·You're fine.                                                        22·
                                                                              ·Q.· ·Does looking at it now --

23·A.   Okay.    I'm sorry.   Will you repeat the question?     I kind      23·A.      Even looking at it now I don't.   I believe some of it

24·of freaked out with the document.                                        24·has been redacted or blacked out so I don't even know --

25·
  ·Q.· ·No, you're okay.··At the bottom there's an email from               25·other than the exchange I can see from Jerry and Kari, that's

                                                                       46                                                                        48
·1·
  ·you to Jerry Arellano dated October 13, 2015, it says, "Sir,             ·1·all I'm able to see.      I don't recall the email.

·2·
  ·where are we with this one?"··Did you write that?                        ·2·
                                                                              ·Q.· ·Yeah.··So the blacked-out portion, there's the dispute

·3·A.   I did.                                                              ·3·
                                                                              ·between Frontier's attorneys and Ms. Brigham's attorneys as

·4·
  ·Q.· ·Okay.··And then, and then the top of the document is Mr.            ·4·
                                                                              ·to whether or not that blacked-out portion is privileged or

·5·
  ·Arellano's response to you.··Do you agree with that?                     ·5·
                                                                              ·not so I'm not concerned with that.

·6·A.   I do.                                                               ·6·A.      Okay.

·7·
  ·Q.· ·Okay.··And do you recall -- looking at it now does it --            ·7·
                                                                              ·Q.· ·I'm actually concerned with the top part where Jerry

·8·
  ·do you recall Mr. Arellano sending you this email?                       ·8·
                                                                              ·wrote to Kari, yourself and a variety of other people and he

·9·A.   I don't, I don't recall the email, it's so long ago and             ·9·
                                                                              ·says, "I'm available next week to participate in the

10·there's thousands of emails in our work life.        Obviously they      10·
                                                                              ·meeting."··Does reviewing this refresh your recollection as

11·were sent because they are here.        If you're asking me if I         11·
                                                                              ·to what meeting he was referring to?

12·remember the content of the email, until I was refreshed by              12·A.      It honestly does not.

13·reading it, no, I did not remember any of the content.                   13·
                                                                              ·Q.· ·That's fine.··I'm going to put in front of you now an

14·
  ·Q.· ·Okay.··But now that you've been refreshed by reading it,            14·
                                                                              ·exhibit that is labeled 27.··And the same here, once you have

15·
  ·can you tell me what was going on here?                                  15·
                                                                              ·that open if you could review that email thread.

16·A.   I suspect on October 13th I was following up with Mr.               16·A.      Yes, it's still downloading.

17·Arellano on Rebecca's status with her attendance and he had              17·
                                                                              ·Q.· ·Okay.

18·sent me the reply back that they had granted her -- or, made             18·A.      Okay, I've read through the email.

19·an exception for her on her F-M-L-A dates and they're                    19·
                                                                              ·Q.· ·Okay.··Have you seen this email thread before?

20·providing her with new F-M-L-A paperwork.                                20·A.      At some point I must have.

21·
  ·Q.· ·And what was the exception that Mr. Arellano is                     21·
                                                                              ·Q.· ·Does reviewing it now refresh your recollection?

22·
  ·referring to?                                                            22·A.      Somewhat.

23·A.   I, I believe the email is speaking to her SIC occurrence            23·
                                                                              ·Q.· ·Okay.··Let's start at the top where Mr. Arellano is

24·which placed her in the term situation, I believe they                   24·
                                                                              ·writing to you, it says, "Hi, Stefanie.··With regard to her

25·re-coded it as an I-F-M and that they were making an                     25·
                                                                              ·September, I checked the trip she added and it looks like she



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·1·
  ·did work a portion of a trip" and then he attaches this chart       ·1·
                                                                         ·Stefanie.··Shelly was able to conduct an audit."··Do you see

·2·
  ·of some sort.··Can you decipher that chart?                         ·2·
                                                                         ·where I am?

·3·A.   The chart would be her, her trip, the trip she was             ·3·A.   Yes.

·4·assigned.                                                           ·4·
                                                                         ·Q.· ·Okay.··So the question I have is in the second

·5·
  ·Q.· ·Yep.                                                           ·5·
                                                                         ·paragraph, towards the last sentence of the second paragraph

·6·A.   I would need to click on details within this trip to see       ·6·
                                                                         ·Mr. Arellano wrote "The question that arises is she"

·7·what portion she was working and if she did drop the other          ·7·
                                                                         ·referring to Rebecca Brigham "truly doing everything fitting

·8·portion.                                                            ·8·
                                                                         ·accordingly to help herself?··I'm not so sure anymore."··Do

·9·
  ·Q.· ·Is it --                                                       ·9·
                                                                         ·you know what Mr. Arellano was referring to there?

10·A.   I can't tell from just this.                                   10·A.   I don't know the intent of Jerry, I can't speak to what

11·
  ·Q.· ·Is it enough -- can you look at this chart and tell me         11·his intent was on that statement.

12·
  ·if Mr. Arellano is correct in that she did work a portion of        12·
                                                                         ·Q.· ·You don't recall?··You never discussed it with Mr.

13·
  ·the trip?··Does this chart show that?                               13·
                                                                         ·Arellano?

14·A.   Just this chart alone does show that.                          14·A.   I don't -- no, I do not believe so.   I believe that's

15·
  ·Q.· ·Okay.··And then if you scroll down below to the second         15·why I asked what her trip was in the email previous.

16·
  ·page, you emailed Mr. Arellano and it says -- under October         16·
                                                                         ·Q.· ·Was Mr. -- during this time period was Mr. Arellano, to

17·
  ·6, 2015, at 1:52 p.m. it says, "Jerry, were her trips swapped       17·
                                                                         ·your knowledge, skeptical about whether Ms. Brigham was truly

18·
  ·for trips that had turns through Denver so she would be able        18·
                                                                         ·trying to schedule her trips in a way that would accommodate

19·
  ·to do a portion of the trip?··Thank you for keeping me              19·
                                                                         ·her disability?

20·
  ·posted."··Do you remember what you were asking about there,         20·
                                                                         · · ··MS. KITSON:··Object to the form.

21·
  ·why you were asking that?                                           21·A.   I can't speak to Mr. Arellano's mindset.

22·A.   I believe I was asking that -- this email would                22·
                                                                         ·Q.· ·I'm not asking you to, I'm asking if you know.··Do you

23·supersede the email where he sent me her schedule, so I             23·
                                                                         ·know whether he was skeptical or not?

24·believe I was inquiring if she flew any portion of the trip         24·
                                                                         · · ··MS. KITSON:··Object to the form.

25·she was assigned.                                                   25·A.   I do not know.

                                                                  50                                                                       52
·1·
  ·Q.· ·Okay.··And why were you asking if it had turns through         ·1·
                                                                         ·Q.· ·On the last page do you see -- or, I'm sorry, the third

·2·
  ·Denver?··What was that about?                                       ·2·
                                                                         ·page do you see the portion that's redacted there?

·3·A.   At, at that, at that time Rebecca was able to or any           ·3·A.   Sure.

·4·flight attendant was able to drop a portion of their trip if        ·4·
                                                                         ·Q.· ·Okay.··Right below it says, "Next steps.··If the last

·5·that trip came through Denver.                                      ·5·
                                                                         ·occurrence is not covered by FMLA then we proceed with the

·6·
  ·Q.· ·Why was that?                                                  ·6·
                                                                         ·term steps.··On this one let's definitely ensure that she has

·7·A.   It was part of the drop process, an ability to help            ·7·
                                                                         ·Union representation available."··Do you know why Mr.

·8·flight attendants --                                                ·8·
                                                                         ·Arellano here wanted to ensure that Ms. Brigham had Union

·9·
  ·Q.· ·Is it because flight attendants --                             ·9·
                                                                         ·representation available?

10·A.   -- flexibility.                                                10·
                                                                         · · ··MS. KITSON:··Object to the form.

11·
  ·Q.· ·Is it because flight attendants live in Denver, or is          11·A.   With any termination we ensure that Union representation

12·
  ·there some reason or do you know?                                   12·is there.    I think he's just solidifying let's make sure the

13·A.   Well, at this time Denver would have been -- or, Denver        13·Union is present.

14·is the hub of Frontier Airlines, so it would be because             14·
                                                                         ·Q.· ·So it's required with any termination meeting?

15·Denver is the hub.                                                  15·A.   It's not required, it's offered.    It's the flight

16·
  ·Q.· ·Okay.··And with Denver being the hub, does that just           16·attendant's responsibility to ensure the Union is there.

17·
  ·mean that a lot of the flight attendants live here in Denver        17·
                                                                         ·Q.· ·Okay.··Did Mr. Arellano ever express any concern to you

18·
  ·or around Denver?                                                   18·
                                                                         ·that terminating Ms. Brigham might result in legal action

19·A.   Yes, correct, a larger portion of the operation flies          19·
                                                                         ·from Ms. Brigham?

20·out of Denver.                                                      20·A.   No, I don't recall that to be the case.

21·
  ·Q.· ·Okay.··And then if you scroll down a little bit more           21·
                                                                         ·Q.· ·Did you ever tell Ms. Brigham that if she was terminated

22·
  ·there's -- I'm sorry, were you saying something?                    22·
                                                                         ·over these issues that she should, in fact, seek legal action

23·A.   No.                                                            23·
                                                                         ·against Frontier?

24·
  ·Q.· ·If you scroll down a little bit more from Jerry Arellano       24·A.   I don't recall that conversation.

25·
  ·to you, October 6, 2015, at 1:49 p.m. it starts with, "Hi,          25·
                                                                         ·Q.· ·Did you ever tell Ms. Brigham you would testify on her



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·1·
  ·behalf in any legal action related to her termination from         ·1·
                                                                        ·finding meeting prior to Ms. Brigham's termination, were you

·2·
  ·Frontier?                                                          ·2·
                                                                        ·at that meeting?

·3·A.   I don't, I don't recall that conversation.                    ·3·A.     I recall being at the termination, the fact-finding

·4·
  ·Q.· ·Were you and Ms. Brigham ever friends?                        ·4·termination meeting, yes, I was there.

·5·A.   Ms. -- yes, we were friends, we are friends, but I think      ·5·
                                                                        ·Q.· ·At that point was there anything Ms. Brigham could have

·6·there's -- you have work friends, family friends, neighbor         ·6·
                                                                        ·said or done to save her job?

·7·friends.                                                           ·7·
                                                                        · · ··MS. KITSON:··Object to the form.

·8·
  ·Q.· ·Sure.                                                         ·8·A.     I believe that is an opportunity for Ms. Brigham and the

·9·A.   I mean there's different forms of friends, but yes,           ·9·Union to go through all of her I-F-Ms and attendance and see

10·Rebecca and I were friends, yes.                                   10·if they can discover where something may have been miscoded

11·
  ·Q.· ·And what kinds of friends?··Work friends, neighbor            11·improperly and present that an option allowing, allowing for

12·
  ·friends?                                                           12·a re-coding changing the situation.

13·A.   I believe we were, I believe we were work friends.            13·
                                                                        ·Q.· ·So if she could have presented some evidence that an

14·
  ·Q.· ·Do you think that Frontier did everything in its power        14·
                                                                        ·absence should have been re-coded, that could have

15·
  ·or its ability to accommodate Ms. Brigham's disability before      15·
                                                                        ·potentially saved her job?

16·
  ·it terminated her?                                                 16·A.     Correct.

17·
  · · ··MS. KITSON:··Object to the form.                              17·
                                                                        ·Q.· ·Was there anything else she could have done?

18·A.   It doesn't matter what I think, it's the policy.              18·
                                                                        · · ··MS. KITSON:··Object to the form.

19·
  ·Q.· ·Well, it matters, it matters to Ms. Brigham what you          19·A.     I believe that would be beyond my scope, that, again,

20·
  ·think, so do you think there was anything else Frontier could      20·would go to an H-R function.    That's an H-R function, my

21·
  ·have done to help her with her disability prior to                 21·function was strictly the facts of the policy and the

22·
  ·terminating her?                                                   22·procedure.

23·
  · · ··MS. KITSON:··Object to the form.                              23·
                                                                        · · ··MR. CRONE:··Ms. Coppedge, thank you for coming this

24·A.   Again, I believe compliance is beyond my scope so I           24·
                                                                        ·morning and putting up with the technical issues and whatnot

25·can't speak to what more Frontier could have done to help          25·
                                                                        ·and so I know that has been a little frustrating, but if we

                                                                 54                                                                     56
·1·Rebecca.                                                           ·1·
                                                                        ·could take a quick five-minute break I want to review my

·2·
  ·Q.· ·In your opinion as a work friend back in 2015, not as         ·2·
                                                                        ·notes, make sure there isn't anything else I wanted to ask

·3·
  ·not an employee/supervisor, but from the perspective of a          ·3·
                                                                        ·you and then I think we can be done before 11:30 here, that

·4·
  ·work friend of Ms. Brigham, did Frontier do everything they        ·4·
                                                                        ·would be nice.··We can go off the record now.

·5·
  ·could do to accommodate Ms. Brigham prior to terminating her?      ·5·
                                                                        · · ··VIDEOGRAPHER:··The time now is 11:20, we're off the

·6·
  · · ··MS. KITSON:··Object to the form.                              ·6·
                                                                        ·record.

·7·A.   You're asking my opinion as a friend?                         ·7·
                                                                        · · · · · · · ··(There was a recess taken.)

·8·
  ·Q.· ·Yes.                                                          ·8·
                                                                        · · ··VIDEOGRAPHER:··The time now is 11:32.··We're back on the

·9·A.   Correct?                                                      ·9·
                                                                        ·record.

10·
  ·Q.· ·Correct.                                                      10·
                                                                        ·(Direct Examination by Mr. Crone.)

11·
  · · ··MS. KITSON:··Same objection.                                  11·
                                                                        ·Q.· ·Ms. Coppedge, just a couple of quick questions and then

12·A.   As a friend my heart hurts from Rebecca for what Rebecca      12·
                                                                        ·we'll be done.··So do you recall back when we were discussing

13·went through.   I admire her strength to have gone through,        13·
                                                                        ·the bid process and the open time and the trade time?

14·gotten herself through therapy, of having the strength to          14·A.     Yes.

15·voluntary self-disclose without getting herself in a               15·
                                                                        ·Q.· ·The question I have is after a flight attendant does the

16·situation where she was forced to do so.   In my heart, my         16·
                                                                        ·bid and then based on seniority they're given a schedule, at

17·heart hurts for Rebecca.   As a friend I -- as a friend I          17·
                                                                        ·the point where they can then trade their time, could they

18·believe everybody needs a second chance and a different            18·
                                                                        ·trade away their entire schedule for a new schedule at that

19·outcome based on some of the choices we make.   So as a            19·
                                                                        ·point?

20·friend, as a friend, absolutely, I would have liked to have        20·A.     They're, they're locked to 50 hours.   So this is where I

21·seen a different outcome, as a friend.                             21·guess it gets complicated so you'll have to follow me if you

22·
  ·Q.· ·Were you at the -- are you aware of Ms. Brigham's loss        22·can.

23·
  ·of a child?                                                        23·
                                                                        ·Q.· ·Sure, yeah.

24·A.   I was not aware.                                              24·A.     Let's say, for example, I have 100 hours, I've dumped 50

25·
  ·Q.· ·Were you at the final -- I think you would call it fact-      25·of those hours into open time so now I only have 50 hours on


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·1·my schedule, I can take one trip, let's say that trip is 10             ·1·
                                                                             · · ··MS. KITSON:··Okay.··I have just a few questions if

·2·hours, and I can trade that 10 hours with another trip in               ·2·
                                                                             ·everybody wants to go back on.

·3·open time that is equivalent, that is another 10 hours.        I        ·3·
                                                                             · · ··MR. CRONE:··Sure.··Thanks, Danielle.

·4·have to maintain 50 hours.                                              ·4·
                                                                             · · ··MS. KITSON:··Do we have our videographer?

·5·
  ·Q.· ·Got it.··So as long as you maintain your 50 hours there,           ·5·
                                                                             · · ··VIDEOGRAPHER:··Yeah, we're all here.

·6·
  ·you could trade away all those trips for new trips?                     ·6·
                                                                             · · ··MS. KITSON:··Are we back on the record?

·7·A.     As long as you maintain 50 hours.                                ·7·
                                                                             · · ··MR. CRONE:··We never went off, we just muted.

·8·
  ·Q.· ·Got it.··Okay.··And is the hours -- when a flight                  ·8·
                                                                             · · ··MS. KITSON:··I'm sorry, I forgot that.

·9·
  ·attendant bids, might they always bid 100 hours?··Is there              ·9·
                                                                             · · ··MR. CRONE:··Oh, no, you're fine, you're fine.

10·
  ·some number they have to bid, or is it like "I'm just going             10·
                                                                             · · ··MS. KITSON:··Here I'm sitting here.

11·
  ·to bid 20 hours this week" and then --                                  11·
                                                                             ·WHEREUPON,

12·A.     It's, it's contractual on how many hours and so the              12·
                                                                             · · · · · · · · · · · ·CROSS-EXAMINATION

13·company will put out a threshold in line with the C-B-A so it           13·
                                                                             ·BY MS. KITSON:

14·could be that you can bid anywhere from 50 up to 100, 102,              14·
                                                                             ·Q.· ·Ms. Coppedge, do you recall Mr. Crone asking you about a

15·103.                                                                    15·
                                                                             ·minimum requirement of hours that a flight attendant had to

16·
  ·Q.· ·Okay.··And then once you've bid that and you're awarded            16·
                                                                             ·hold after bidding?

17·
  ·whatever you're awarded based on seniority, then there's a              17·A.      I did.

18·
  ·certain amount you can drop into open time?                             18·
                                                                             ·Q.· ·And did you testify that that number was 50 hours?

19·A.     Down to 50 hours.                                                19·A.      I did.

20·
  ·Q.· ·Down to 50, okay.··And then once you've done that,                 20·
                                                                             ·Q.· ·While we were on the break, did you have a chance to

21·
  ·you've got to at least keep your 50, but you could trade away           21·
                                                                             ·consult the Collective Bargaining Agreement that was in place

22·
  ·all 50 for a different 50 hours?                                        22·
                                                                             ·at the time that Ms. Brigham was employed?

23·A.     Correct.                                                         23·A.      I did.

24·
  ·Q.· ·Okay.··Got it.··Okay.··Thank you.··That makes sense.               24·
                                                                             ·Q.· ·And did that refresh your recollection about the number

25·
  ·It's a little complex, but it makes sense.··The other                   25·
                                                                             ·of hours minimally required to be held?

                                                                      58                                                                     60
·1·
  ·question is did you ever tell Jerry Arellano that Ms.                   ·1·A.      It did.

·2·
  ·Brigham's brother is a lawyer and if Frontier terminated Ms.            ·2·
                                                                             ·Q.· ·And what is that number?

·3·
  ·Brigham, you know, she'd probably sue because she has a                 ·3·A.      45 hours.

·4·
  ·lawyer in the family, her brother?                                      ·4·
                                                                             · · ··MS. KITSON:··Okay.··And those are my only questions.

·5·A.     I don't recall that and I don't even -- I don't recall           ·5·
                                                                             · · ··THE WITNESS:··Okay.

·6·Rebecca having a brother.     I guess --                                ·6·
                                                                             · · ··MR. CRONE:··Thank you, Ms. Coppedge.··And Ms. Brigham

·7·
  ·Q.· ·I'm sorry, go ahead.                                               ·7·
                                                                             ·has no follow-up as a result of that, so thanks again for

·8·A.     No, I'm sorry, go ahead.                                         ·8·
                                                                             ·being here.

·9·
  ·Q.· ·You don't recall making any comment to Mr. Arellano                ·9·
                                                                             · · ··COURT REPORTER:··Mr. Crone, Ms. Kitson, this is the

10·
  ·along those lines?                                                      10·
                                                                             ·court reporter.··Would you both like etrans?

11·A.     I don't, I don't recall.   I feel like it's a general            11·
                                                                             · · ··MR. CRONE:··Yes, please.

12·statement and anytime somebody gets terminated somebody is              12·
                                                                             · · ··MS. KITSON:··Please.

13·related to a lawyer, somebody is going to sue you.     I don't          13·
                                                                             · · ··COURT REPORTER:··And Ms. Kitson, do you want to read and

14·recall the conversation, I really don't.                                14·
                                                                             ·sign?

15·
  · · ··MR. CRONE:··Okay.··Ms. Coppedge, that's all we have, and           15·
                                                                             · · ··MS. KITSON:··Yes.

16·
  ·thanks again for appearing this morning and putting up with             16·
                                                                             · · ··COURT REPORTER:··Perfect.··Thank you very much.

17·
  ·the technical difficulties.                                             17·
                                                                             · · ··VIDEOGRAPHER:··The time now is 11:40.··We're going off

18·
  · · ··MS. KITSON:··Hey, John, I may have a couple follow-ups.            18·
                                                                             ·the record.··This concludes today's deposition.

19·
  ·Give me just a couple minutes here.                                     19·
                                                                             · · · · · · · ·(The deposition was concluded at 11:40 a.m.)

20·
  · · ··MR. CRONE:··Yeah, that's fine.··Do you want to go off              20·
                                                                             ·

21·
  ·the record, or do you just want to mute it for a minute or              21·
                                                                             ·

22·
  ·two and then come back?                                                 22·
                                                                             ·

23·
  · · ··MS. KITSON:··We'll just mute it for a minute or two, it            23·
                                                                             ·

24·
  ·should be really quick.                                                 24·
                                                                             ·

25·
  · · ··MR. CRONE:··Yeah, that's fine.                                     25·
                                                                             ·



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11·
  ·in the outcome thereof.
12·
  · · · · ··Dated this 9th day of August 2020.
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